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12
                       UNITED STATES DISTRICT COURT
13
                      EASTERN DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,         )    CASE NO. 2:09-CR-0125-FCD
                                       )
16                Plaintiff,           )    ORDER APPROVING ASSOCIATION
17                                     )    OF COUNSEL
            vs.                        )
18                                     )
19   SARTAJ CHAHAL, et al.,            )
                                       )
20                Defendants.          )
                                       )
21
22
         The request of Defendant, SARTAJ CHAHAL, to associate Joseph
23
     Shemaria, Esq. as cocounsel is hereby APPROVED.
24
         IT IS SO ORDERED.
25
26   DATED: April 1, 2009

27                                      _______________________________________
28                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE



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